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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

         v.
                                                        Criminal Action No. 18-0032-2 (DLF)
 CONCORD MANAGEMENT &
 CONSULTING LLC,

                 Defendant.


                                              ORDER

       Before the Court is Concord Management and Consulting LLC’s (Concord’s) Renewed

Motion for Discovery Regarding Selective Prosecution, Dkt. 93. In support of its motion,

Concord provides a declination letter dated January 15, 2019, from the U.S. Department of

Justice to a U.S. law firm, Skadden, Arps, Slate, Meager & Flom (Skadden), that states that a

partner at the firm made false and misleading statements to the Department of Justice’s Foreign

Agent Registration Act (FARA) Unit about Skadden’s activities on behalf of the government of

Ukraine. Concord argues that Skadden’s admitted conduct contained in an appendix attached to

the declination letter is “far more . . . egregious than the allegations against Concord.”

Concord’s Mot. at 4. Concord further argues that the government’s decision to fine and not

prosecute Skadden shows that the government has treated Concord in a significantly disparate

manner that justifies this Court granting Concord’s motion for discovery on its claim of selective

prosecution. Id. at 2, 5. The Court disagrees.

       To prevail on a motion for discovery relating to a selective prosecution claim, “[a]

criminal defendant must present ‘some evidence tending to show the existence of’
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(1) discriminatory effect and (2) discriminatory intent.” Order at 1, Dkt. 66, (citing United States

v. Armstrong, 517 U.S. 456, 468-69 (1996)). “To show discriminatory effect, Concord must

make a credible showing of different treatment of similarly situated persons.” Id. at 1 (citing

Armstrong, 517 U.S. at 470).

       Count One of the Indictment charges Concord and fifteen other individuals and entities

with conspiring to defraud the United States by interfering with the lawful functions of three

separate government agencies—the Federal Election Commission, the Department of Justice’s

FARA Unit, and the Department of State. See Indictment, Dkt. 1. As alleged, Concord or its co-

conspirators “interfere[d] with the U.S. political system” by, among other things, “posing as U.S.

persons and creating false U.S. personas,” “operat[ing] social media pages and groups” that

“falsely claimed to be controlled by U.S. activists,” “us[ing] the stolen identities of real U.S.

persons to post” on social media, id. ¶ 4, “travel[ing] to the United States under false pretenses

for the purpose of collecting intelligence,” “procur[ing] and us[ing] computer infrastructure . . .

to hide the Russian origin of their activities and to avoid detection by U.S. regulators and law

enforcement,” id. ¶ 5, “buying political advertisements on social media in the names of U.S.

persons and entities,” and “solicit[ing] and compensat[ing] real U.S. persons” while “posing as

U.S. grassroots entities and U.S. persons,” id. ¶ 6. Concord allegedly contributed to this

conspiracy by “spen[ding] significant sums,” id. ¶ 3, “control[ling] funding,” “recommend[ing]

personnel,” and “overs[eeing] [a co-defendant organization’s] activities through reporting and

interaction with [that organization’s] management,” id. ¶ 11.

       The misconduct ascribed to Skadden in the declination letter is not similar in nature or

scope to the conspiracy charged here. Although Skadden is alleged to have made false and

misleading statements to the FARA Unit between 2012 and 2014, the statements were allegedly



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made by a single former partner of the firm, and there is no allegation that the firm condoned,

much less contributed to, the former partner’s false and misleading statements. Significantly,

unlike here, there is no claim that the firm engaged in a wide-ranging conspiracy with others to

interfere with U.S. political processes and defraud the Federal Election Commission, the

Department of State, and the Department of Justice. “Put simply, Concord has not made the

‘credible showing of different treatment of similarly situated persons’ required to obtain

discovery.” Order at 3 (citing Armstrong, 517 U.S. at 469).

       Moreover, aside from its assertion that the deal provided to Skadden “strongly indicates

that the prosecution of Concord is motivated solely by the fact that it is a Russian legal entity,”

Reply at 3, Concord has presented no new evidence to support its previous claim that the Special

Counsel is prosecuting Concord because of its Russian nationality. For the reasons stated above

and in the Court’s earlier decision, see Order at 1, evidence related to the Skadden “deal” does

not constitute a colorable claim of discriminatory intent. Because Concord has demonstrated

neither discriminatory effect nor discriminatory intent, its motion is DENIED.

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February 13, 2019                                             ________________________
                                                              DABNEY L. FRIEDRICH
                                                              United States District Judge




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